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                                  UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,

v.
                                                           Case No. 1:18-cv-00950-LO-JFA
COX COMMUNICATIONS, INC., et al.,

         Defendants.




                                 DECLARATION OF WILLIAM H. LEHR

            1.         I, William H. Lehr, hereby declare pursuant to 28 U.S.C. § 1746 that the following

     statements are true and correct to the best of my personal knowledge and belief:


                                              INTRODUCTION

            2.         I am a telecommunications and Internet industry economist and consultant with

     over twenty-five years of experience. I regularly advise senior industry executives and

     policymakers in the U.S. and abroad on the market, industry, and policy implications of events

     relevant to the Internet ecosystem, including such topics as the growth of mobile broadband,

     changing rights regimes for digital media, and the transition to next generation Internet

     technologies.


            3.         I am currently a research scientist in the Computer Science and Artificial

     Intelligence Laboratory (“CSAIL”) at the Massachusetts Institute of Technology (“MIT”), where

     I participate in a number of multi-disciplinary research projects focused on addressing the mix of

     technical, business economics, and policy challenges associated with the rise of the Internet as our


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 global communications infrastructure. My research addresses the convergence of the Internet and

 telecommunication services and the implications for corporate strategy and public policy. The rise

 of the Internet as the principal platform for distributing media of all types, and especially

 entertainment, is a major focus of my work.


        4.      I am a frequent speaker at international industry, public policy, and academic

 conferences focused on the economics of the Information and Communications Technology

 (“ICT”) sector. I have taught graduate-level courses on media, telecommunications, and Internet

 industry economics at MIT, Columbia University, Cambridge University, and several other

 universities, and have prepared customized tutorials for executives and senior policymakers in the

 U.S. and abroad on matters such as telecommunications pricing, applications of advanced

 economics methods to network economics, and wireless technologies and markets.


        5.      My research over the last several years has focused on the evolution of Internet

 infrastructure and the telecommunications industry, with a special focus on the evolution of

 wireless and broadband services and their regulation. I have published academic research in peer-

 reviewed journals on a wide range of topics related to the ICT industry, including the economics

 of technology standard setting, the implications of new broadband technologies, the economic

 impact of information technologies, and on addressing the challenges of transitioning our

 regulatory policies in light of the growing importance of the Internet.


        6.      In addition to my academic work, I provide business and litigation consulting

 services as an independent contractor on matters of concern to the ICT industries in the United

 States and abroad. This includes providing expert testimony in civil and regulatory proceedings on

 a wide range of matters related to the business economics of the ICT sector. I also advise industry


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 participants in multiple segments of the ICT industries and government policymakers on strategic

 issues such as technology trends, investment opportunities, business, and marketing strategies.


        7.      I hold a PhD in Economics from Stanford, an MBA in Finance from the Wharton

 School, and MSE, BA, and BS degrees from the University of Pennsylvania. My curriculum vitae,

 which includes a listing of my prior testifying experience, is attached here as Appendix A.


        8.      I have been retained on behalf of Plaintiffs in this case to consider several issues.

 In connection with my work on this matter, I reviewed a variety of documents, datasets,

 declarations, and testimonies. The list of materials that I have considered has been set forth in my

 expert reports in this case. My opinions in this matter are set forth in my expert reports. Portions

 of those analyses are set forth in this declaration in support of Plaintiffs’ Motion for Summary

 Judgment. I have knowledge of the facts set forth herein based on my personal knowledge or

 documents and information reviewed in connection with this case and, if necessary, I would and

 could competently testify thereto if called as a witness in this matter.


        9.      I am being compensated for my work in this matter at a rate of $650 per hour.

 Employees at Analysis Group, Inc., have assisted me with my assignment in this matter, working

 under my supervision and direction. My compensation is not contingent upon my findings or the

 outcome of this matter.




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                                          Appendix A


                                  WILLIAM HERNDON LEHR
                                           Curriculum Vitae


     EDUCATION

           Ph.D., Economics, Stanford University, 1992.
           M.B.A., with distinction, The Wharton School, University of Pennsylvania, 1984.
           M.S.E., Chemical Engineering, University of Pennsylvania, 1984.
           B.S., Chemical Engineering, cum laude, University of Pennsylvania, 1979.
           B.A., European History, magna cum laude, University of Pennsylvania, 1979.

           Academic Honors: Graduate Student Research Award, Telecommunications Policy
           Research Conference, 1991; Lynde and Harry Bradley Foundation Fellowship,
           1990; Stanford Fellowship, 1987

     PROFESSIONAL EXPERIENCE

           Computer Science and Artificial Intelligence Laboratory (CSAIL), Massachusetts
           Institute of Technology (Cambridge, MA), Research Scientist, July 2006-present;
           previously, in Center for Technology, Policy and Industrial Development, MIT,
           1997- June 2006. Working with MIT Internet Telecoms Convergence Consortium
           (1997-2004); Communications Futures Program (2004-2017); Advanced Network
           Architecture Group (2006-present).

           Graduate School of Business, Columbia University (New York, NY), Associate
           Research Scholar of Finance and Economics, 1997-2002; Assistant Professor of
           Finance and Economics, July 1991 to December 1996.

           RAND Corporation (Santa Monica, CA), Graduate Student Intern, Summer 1990.

           Economic Analysis Group, Ltd. (Washington, DC), Senior Consultant, 1985-1987.

           M.C.I. Telecommunications (Washington, DC), Manager of Financial Analysis,
           1985; Senior Financial Analyst, 1984.

           Office of Management and Budget, National Security Division (Washington, DC),
           Graduate Student Intern, Summer 1983.

           Putnam, Hayes and Bartlett (Cambridge, MA), Research Associate 1980-1982.

     TEACHING EXPERIENCE

           Communications & Information Policy
           Internet Pricing and Quality of Service
           Internet Commerce


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           Internet Economics 101
           Internet Telephony Tutorial
           Internet Commerce Video Course
           Economics of Telecommunications Pricing
           Economics and Strategy in Media Industries
           Economics of Strategic Management
           Managerial Economics
           Telecommunications: Technologies and Policies in the Networked Digital World
           Theory of the Firm (teaching assistant for Paul Milgrom)
           Wireless Broadband in the Developing World

     PAPERS and PUBLICATIONS

           Lehr, W. (2019), "Economics of Spectrum Sharing, Valuation and Secondary
           Markets," in C. Papadias, T. Ratnarajah and D. Stock (eds.), Spectrum Sharing:
           the Next Frontier in Wireless Networks, New York: Wiley, 2019 (forthcoming).

           Lehr, W. (2019), "5G and the Future of Broadband," in G. Kneips & V. Stocker
           (eds.), The Future of the Internet - Innovation, Integration, and Sustainability,
           Baden-Baden: Nomos, 2019 (forthcoming).

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           Mossberger, E. Welch, and Y. Wu (eds), Transforming Everything? Evaluating
           broadband's impacts across policy areas, Oxford: Oxford University Press, 2019
           (forthcoming).

           "Communications Act 2021," (2018) with D. Sicker, Journal of High Technology
           Law, Volume 18, Number 2 (2018) 270-330.

           "SMAP: A Scalable and Distributed Architecture for Dynamic Spectrum
           Management," (2018) with P. Karimi, D. Raychaudhuri and I. Seskar, IEEE
           DySPAN 2018, Seoul, Korea, October 2018

           "When cyber threats loom, what can state and local governments do?", (2018)
           with J. Wolff, Georgetown Journal of International Affairs, Fall 2018.

           "Whither the Public Internet?" (2018) with D. Clark, S. Bauer, A. Berger and P.
           Richter, 46th TPRC: (2018), TPRC46: The 46th Research Conference on
           Communication, Information, and Internet Policy 2018, available at
           https://ssrn.com/abstract=3141969.

           "Spectrum Valuation: Implications for Sharing and Secondary Markets," (2018)
           with M. Gomez, M. Weiss, and G. McHenry, TPRC46: The 46 th Research
           Conference on Communication, Information, and Internet Policy 2018, available
           at https://ssrn.com/abstract=3142182.




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           "Telecom Déjà Vu: A Model for Sharing in Broadband Access," (2018), with D.
           Sicker, TPRC46: The 46th Research Conference on Communication, Information,
           and Internet Policy 2018, available at https://ssrn.com/abstract=3142172.

           "Measuring Mobile Broadband Performance," (2018) with S. Bauer, TPRC46:
           The 46th Research Conference on Communication, Information, and Internet
           Policy 2018, available at https://ssrn.com/abstract=3138610.

           "Roles for Policy-Makers in Emerging Cyber Insurance Industry Partnerships,"
           (2018) with J. Wolff, TPRC46: Research Conference on Communications,
           Information and Internet Policy, American University, Washington, DC,
           September 21-22, 2018, abstract available at https://ssrn.com/abstract=3141409.

           "Future of Broadband Competition in a 5G World" (2018), White paper, available
           at http://dx.doi.org/10.2139/ssrn.3240191.

           "Analysis of Proposed Modifications to the CBRS PAL License Framework," Ex
           parte comment submitted to Federal Communications Commission in the Matter
           of Promoting Investment in the 3550-3700 MHz Band, Docket 17-258, December
           2017.

           ICT-centric economic growth, innovation and job creation, co-editor with Ahmad
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           "ICT Engines for Sustainable Development," with A. Sharafat, in A. Sharafat &
           W. Lehr (eds.), ICT-centric economic growth, innovation and job creation,
           Geneva, Switzerland: International Telecommunications Union (ITU), 2017,
           available at http://handle.itu.int/11.1002/pub/80fc3264-en

           "Degrees of Ignorance About the Costs of Data Breaches: What Policymakers
           Can and Can't Do About the Lack of Good Empirical Data," with Josephine
           Wolff, 45th Research Conference on Communications and Internet Policy,
           Alexandria, VA, September 2017.

           "The growing complexity of content delivery networks: Challenges and
           implications for the Internet ecosystem," with V. Stocker, G. Smaragdakis, and S.
           Bauer, Telecommunications Policy, Vol 41 (10) 1003-1016, 2017,
           https://doi.org/10.1016/j.telpol.017.02.004.

           "Would you like your Internet with or without video?" with D. Sicker, Journal of
           Law, Technology & Policy, vol 2017 (Issue 1 Spring), available at
           http://illinoisjltp.com/journal/wp-content/uploads/2017/05/Lehr.pdf.

           "Ex-post mitigation strategies for theft of non-financial data," with J. Wolff,
           TPRC44, September 2016, Alexandria, VA, available at available at SSRN:
           http://ssrn.com/abstract=2756842 or http://dx.doi.org/10.2139/ssrn.2756842



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           Evolution of Content Delivery in the Internet," with V. Stocker, G. Smaragdakis,
           and S. Bauer, EuroITS2016, Cambridge University, Cambridge UK, September
           2016, available at http://people.csail.mit.edu/gsmaragd/publications/ITS2016/

           "An Overview of Dynamic Spectrum Sharing: Ongoing Initiatives, Challenges, and
           a Roadmap for Future Research," with S. Bhattarai, J. Park, B. Gao, and K. Bian,
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           2015.

           "The Road to an Open Internet is Paved with Pragmatic Disclosure & Transparency
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           2015.

           "Reliability and the Internet Cloud," C.Yoo and J-F. Blanchette (eds), in Regulating
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           Clark, S. Bauer, K. Claffy, A. Dhamdhere, B. Huffaker, and M. Luckie, Journal of
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           to FCC in the matter of Wireless Telecommunications Bureau Seeks Comment on
           the State of Mobile Wireless Competition, WT Docket No. 13-135, 24 March 2014,
           available at http://apps.fcc.gov/ecfs/document/view?id=7521094963.




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           Program Spectrum Working Group, submitted to FCC’s 3.5GHz proceeding
           (Docket #12-354), available at
           http://apps.fcc.gov/ecfs/comment/confirm?confirmation=201437236301.

           "Small cells and the mobile broadband ecosystem," with M. Oliver, Euro ITS2014,
           Brussels, June 2014, available at
           http://econpapers.repec.org/paper/zbwitse14/101406.htm.

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           the 3550-3650 MHz Band, GN Docket 12-354, August 15, 2014, available at
           http://apps.fcc.gov/ecfs/document/view?id=7521763142.

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           support from the American Cable Association, July 2014, available at
           http://apps.fcc.gov/ecfs/document/view?id=7521683605.

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           Working Group, May 2014, available at
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           Broberg, M. Caesar, D. Comer, C. Cotton, M. Freedman, A. Haeberlen, Z. Ives, A.
           Krishnamurthy, B. Loo, D. Mazieres, A. Nicolosi, J. Smith, I. Stoica, R. Renesse,
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           Computer Science – Volume 7858, Springer: New York, 2013.

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           DySPAN2012, Bellevue, Washington, October 2012

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           M. Altamini, TPRC2012, Alexandria, VA, September 2012

           "A Data Driven Exploration of Broadband Traffic Issues: Growth, Management,
           and Policy," with Steve Bauer and David Clark, TPRC2012, Alexandria, VA,
           September 2012

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           February 24, 2012 (paper June 2012).




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           "Broadband microfoundations: the need for traffic data," with Stephen Bauer and
           David Clark, Beyond Broadband Access conference, NewAmerica Foundation,
           Washington DC, September 22-24, 2009.

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           paper prepared for 37th Research Conference on Communication, Information
           and Internet Policy (www.tprcweb.com), Arlington, VA, September 2009.

           "Hybrid Wireless Broadband," with John Chapin, paper prepared for 37th
           Research Conference on Communication, Information and Internet Policy
           (www.tprcweb.com), Arlington, VA, September 2009.

           "Rethinking wireless broadband platforms," with John Chapin, invited paper
           presented at Wireless Technologies: Enabling Innovation and Growth, Georgetown
           Center for Business and Public Policy, Washington DC, April 17, 2009.

           "Internet Policy – A Mix of Old and New Challenges," with Lorenzo Pupillo, in
           Internet Policy and Economics: Challenges and Perspectives, W. Lehr and L.
           Pupillo (editors), Springer: New York, 2009.

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           York, 2009.

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           Lorenzo Pupillo, Springer: New York, 2009.

           "Measurement and Assessment of Broadband Availability," with Tony Smith-
           Grieco, Report prepared for the John Adams Innovation Institute at the
           Massachusetts Institute of Technology, January 2009.

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           David Clark, Steven Bauer, Patrick Gilmore, and Arthur Berger, Communications
           & Strategies, No. 72, 4th Quarter 2008, pages 1-21.

           "Spectrum Pooling for Next Generation Public Safety Radio Systems," with Nancy
           Jesuale, prepared for IEEE Dynamic Spectrum Access Networks (DySPAN08)
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           and Eliot Lear, prepared for the 36th Research Conference on Communication,
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           Peyman Faratin, Rahul Sami, and John Wroclawski, Communications and
           Strategies, no. 63 (3rd Quarter 2006) 1-21.

           "Measuring Broadband's Economic Impact," with Sharon Gillett, Carlos O'sorio,
           and Marvin Sirbu, Broadband Properties, vol. 24, no. 12 (Revised January 2006)
           12-24.

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           for IEEE DySPAN Conference, Baltimore, MD, November 2005.

           "The Growth of Internet Overlay Networks: Implications for Architecture,
           Industry Structure and Policy," with David Clark, Peyman Faratin, Rahul Sami,
           and John Wroclawski, paper presented at the 33rd Annual Telecommunications
           Policy Research Conference, George Mason University, September 2005.

           "Evolving Wireless Access Technologies for Municipal Broadband," with Marvin
           Sirbu and Sharon Gillett, Government Information Quarterly, 23 (2006) 480-502.

           "Wireless is Changing the Policy Calculus for Municipal Broadband," with Marvin
           Sirbu and Sharon Gillett, Government Information Quarterly, 23 (2006) 435-453

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           "The Role of Unlicensed in Spectrum Reform," draft mimeo, Massachusetts
           Institute of Technology, March 2005.

           "Broadband Open Access: Lessons from Municipal Network Case Studies," with
           Marvin Sirbu and Sharon Gillett, paper presented at the 32nd Annual
           Telecommunications Policy Research Conference, George Mason University,
           September 2004.

           "The Municipal Role in U.S. FTTH Market Growth," with Sharon Gillett and
           Carlos Osorio, prepared for the FTTH Council's 3rd Annual FTTH Conference and
           Expo, October 4-6, 2004, Orlando, FL.

           "Municipal Electric Utilities' Role in Telecommunications Services," with Sharon
           Gillett and Carlos Osorio, Telecommunications Policy, vol 30, issue 8-9
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           "Municipal Wireless Broadband: Policy and Business Implications of Emerging
           Access Technologies," with Marvin Sirbu and Sharon Gillett, paper prepared for




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           April 13-14, 2004.

           "Wireless Broadband: Coming to a Town Hall Near You?" MIT Technology
           Insider, August 2004.

           "Local Government Broadband Initiatives," with Sharon Eisner Gillett and Carlos
           Osorio, Telecommunications Policy, 28 (August 2004) 537-558.

           "Economic Case for Dedicated Unlicensed Spectrum Below 3GHz," paper prepared
           for New America Foundation Conference, April 2004.

           "TELRIC and the Cost of Capital," with R. Glenn Hubbard, white paper prepared
           on behalf of AT&T for ex parte submission to the FCC, December 2003.

           "Coordinating User and Device Behavior in Wireless Grids," with Lee McKnight
           and James Howison, draft paper, Syracuse University, October 2003.

           "Local Government Broadband Initiatives," with Sharon Eisner Gillett and Carlos
           Osorio, paper prepared for the 31st Annual Telecommunications Policy Research
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           "Economic Case for Voluntary Structural Separation," with R. Glenn Hubbard,
           paper prepared for the 31st Annual Telecommunications Policy Research
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           Glassman, report prepared for TechCentral Station, July 2001.

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           Glassman, report prepared for TechCentral Station, June 2001.

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                        Expert Testimony and Testifying Experience

                                      Dr. William H. Lehr

     Expert Report of William H. Lehr, Ph.D., on behalf of Plaintiffs, In the matter of UMG
     Recordings, Inc. et al. (Plaintiffs) v. Grande Communications Networks LLC and Patriot
     Media Consulting, LLC (Defendants), Before the District Court of Western District of
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     District, Docket No. 582,741 Sec. D, April 20, 2018.

     Expert Report of William H. Lehr, on behalf of Plaintiffs, In the matter of Charter
     Advanced Services (MN), LLC et. al. (Plaintiffs) v. Beverly Jones Heydinger, et. al.
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     Court, Eastern District of Virginia, Case No. 1:4-cv-1611 (LOG/JFA), June 2015.




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